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                             IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE EASTERN DISTRICT OF LOUISIANA



          In re:                                                       Case No. 17-11213

          First NBC Bank Holding Company,                              Section “A”

          Debtor.                                                      Chapter 11



                         NOTICE OF WITHDRAWAL OF THE UNITED STATES’
                          MODIFIED OBJECTION TO PLAN CONFIRMATION

              NOW INTO COURT, comes the United States of America on behalf of the

   United States Department of the Treasury (the “United States”), and hereby provides

   notice of its withdrawal, on the terms below, of its Modified Objection 1 (P-773) to

   confirmation of the Modified Plan (P-741, Ex. A).

              Withdrawal of the Modified Objection is: (1) conditioned on the Debtor’s

   representations that its motion (P-741) to make immaterial changes to the Unmodified

   Plan (P-621) will be revised to eliminate the request for changes to treatment of Class 8;

   and (2) based on the Court’s approval of changes to the briefing schedule, including

   elimination of the requirement that the United States submit an another opening brief in

   addition to the United States’ Objection (P-669) and the United States’ Supplemental

   Brief (P-691).



                                            [signature page follows]




   1
       Capitalized terms are defined in P-773.
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                                  CERTIFICATE OF SERVICE

          On November 1, 2019, I caused a copy of the foregoing Notice of Withdrawal of the

   United States’ Modified Objection to Plan Confirmation to be served electronically

   through the Court’s ECF system upon those who have consented to service in that manner.



   Dated: November 1, 2019                            /s/ Serajul F. Ali
                                                      Serajul F. Ali




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